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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SAMUEL 0. ARAOYE
                                                              CIVIL ACTION
                       Plaintiff.                             No.: 2:19-cv-0719

               V.


CITY OF PHil..ADELPHIA.

                       Defendant.


                                FIRST AMENDED COMPLAINT

                                     I.     INTRODUCTION

        Plaintiff, Samuel 0. Araoye, (hereinafter "Plaintiff), hereby files this Amended Complaint
in his action against Defendant City of Philadelphia (hereinafter "Defendant"). Plaintiff is alleging
that he was subject to disparate treatment, retaliation, and a hostile and unsafe working
environment based on race, ethnicity and color in violation of Title VII of the Civil Rights Act of
1964.

                          II.       STATEMENT OF JURISDICTION

l. Jurisdiction of this Court is invoked pursuant to 28 U .S .C. Section 1331 and 1337, as
   Plaintiff asserts claims of discrimination based on disparate treatment and retaliation, arising
   under Title Vil of the Civil Rights Act of 1964 42 U.S.C. § 2000e et seq.
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2. The employment practices alleged herein to be unlawful were committed in the Eastern
   District of Pennsylvania. Venue in this District Court is therefore invoked under 28 U.S .C.
   Section 1391.

3. Plaintiff has obtained the right to sue in the above referenced matter pursuant to the U.S .
   Equal Employment Commission Decision dated July 19, 2019. (See Exhibit "A").

                                        III.    PARTIES

4. Plaintiff is a resident of Springville, Pennsylvania.

5. Plaintiff is a member of a protected class. While Plaintiff is an American citizen, Plaintiff was
   born in Nigeria and is a Black man. Plaintiff is also a veteran of the American military.

6. Defendant, City of Philadelphia, is a Municipality organized under the laws of the State of
   the Commonwealth of Pennsylvania.

7. At all times hereto, Defendant employed managers , supervisors, agents and employees who
   Plaintiff alleges had the authority to make decisions concerning Plaintiffs employment. In
   making said decisions, these individuals engaged in the practice of discriminatory treatment,
   which forms the basis of Plaintiffs allegations in the instant Amended Complaint.

                                          IV. FACTS

8. Plaintiff was hired by the City of Philadelphia as an accountant in its Water Revenue Bureau
   ("WRB") on March 3, 2014. At all times, Plaintiffs work performance was exemplary.

9. In 2017, Plaintiff took the Civil Service test for promotion to Accounting Supervisor and
   ranked # l on the list.

10. On December 18, 2017 Plaintiff was promoted to the position of Accounting Supervisor in
    the Refund Unit and Agency-Receivable unit, both at Tax Revenue Bureau.

11. Plaintiff was initially placed in the position of Accounting Supervisor on a probationary
    basis.

12. According to City of Philadelphia Civil Service Regulation ("CSR")§ 14.03, Plaintiff would
    be considered to have successfully completed his probationary period with his combined ,
    provided that the appointing authority does not file a Perfonnance Report with an over-all
    rating of Improvement Needed, Unacceptable or Unsatisfactory before the end of the
    aggregate period of six (6) months, which includes total overtime hours worked at Refund
    Unit.

13. Plaintiffs Manager, Noreen Skirkie assigned Clerical Supervisor Stephanie Gaines to train
    Plaintiff during his six-month probationary period.

14. For the following two (2) weeks, Ms. Gaines failed to provide Plaintiff with the required
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   training. Instead, Ms. Gaines refused to give Plaintiff the information that was necessary for
   him to perform his job and chastised Plaintiff for taking notes.

15. After Ms. Gaines quit providing training to Plaintiff, no other employee was assigned to train
    Plaintiff during his probationary period.

16. Ms. Gaines also frequently angrily harassed Plaintiff in front of others , on one occasion
   telling Plaintiff to "be a man."

17. Ms. Gaines did not treat Plaintiffs non-male. non-Nigerian. and non-Black coworkers in a
    similar manner.

18. Because of Ms. Gaines' failure to train, Plaintiff was forced to stay after hours, without pay,
    in order to meet his work obligations. After two (2) weeks, Ms. Gaines completely quit
    training Plaintiff.

19. According to City of Philadelphia Civil Service Regulation ("CSR") § 23 .01 , a Performance
    Report for probationary employees should be prepared and filed within ten days following
    the completion of the second and fifth months of the probationary period. And in the absence
    of an evaluation during the stipulated time per the CSR, an employee is deemed satisfactory.

20. In violation of these regulations, Plaintiff never received a Perfo1mance Evaluation after the
    second month of his probationary period.
21. Instead, on April 17, 2018 Skirkie issued Plaintiff a " Fifth Month" Performance Report that
    rated Plaintiffs overall performance as "superior" and which commended Plaintiff for his
    eagerness to learn all aspects of his job. As of April 17, 2018, aggregate of work done on
    regular and overtime has been well over 5 months of combined work done; meaning I have
    until May 18, 2018 to complete 6 months for the probation. And I was not rejected on
    probation 10 days after, I have indeed successfully completed the probationary period.
    Whereas, the defendant callously removed me from office in an apparent discriminatory and
    retaliatory treatments for reporting safety issues. And I mean, Skirkie wrote bad evaluation
    against on May 23, 2018, being few days after I reported unsafe workplace situations, in
    which the HR questioned the fact that I worked late. Since her training laxity may be
    exposed, she decided to get rid of me.

22. Plaintiff was questioned by a Human Resources representative. This representative asked
    Plaintiff why he was working so late. Plaintiff told the representative that he had to work late
    due to the heavy workload, especially during the peak of tax season, in which Wismer, the
    Director said he felt sorry that I was hired at the beginning of the peak of tax season. Despite
    the fact I requested overtime hours early enough, Wismer and Skirkie did not start approving
    overtime until several weeks after my request. And when that happened, we also have to get
    help from other units; and I mean, we can have as much as 7 employees from other units
    helping out during overtime hours. This clearly shows how enormous workloads are in the
    City's only Refund Unit. Meaning, I was supervising between 10 to 15 employees per day
    during regular and ove1time hours, which is very unusual for any Supervisor or Manager at
    my level in the City of Philadelphia.
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23. As of May 15, 2018, Plaintiff had completed more than seven months in total work hours
    (i.e. 8 hr is considered 1 day of work, and I have put in more than 7 months of work hours in
    that perspective). Under CSR, if no evaluation is given to Plaintiff within 10 days after
    completing probationary period, Plaintiffs performance would be considered to be
    satisfactory and he could not be rejected on probation.

24. On May 23, 2018 Skirkie issued Plaintiff a second "fifth Month" Perfonnance Report.
    Unlike the Fifth Month Peiformance Reported issued on April 17, 2018, this Performance
    Report rated Plaintiffs overall performance as "unacceptable." In this Performance Repo1t,
    Skirkie indicated that she would not be recommending Plaintiff for a pem1anent position.

25. This issuance of two "fifth Month" Performance Reports is in violation of CSR § 23.034,
    which states that Defendant may not issue a single employee two performance reports within
    a three-month period.

26. On June 6, 2018 Skirkie sent Plaintiff a memo asking him to attend a meeting so that they
    could discuss his Fifth Month Peiformance Report.

27. When Plaintiff arrived at the meeting, Skirkie instead handed Plaintiff a Rejection Notice
    indicating that Plaintiff had failed his probationary period and would not be receiving a
    permanent position as Accounting Supervisor. The Rejection Notice claimed that beginning
    in April 2018, Plaintiff exhibited issues with missing refund petitions due to his habit of
    keeping a cluttered cubicle. However, in his April 17, 2018 Peifo1mance Report, Skirkie had
    rated "superior" in the category the concerning keeping his work organized. The Rejection
    Notice also falsely characterized the April 17, 2018 Performance Report as being Plaintiffs
    "Two Month" evaluation.

28. During this meeting, Kia Miller handed Plaintiffs union representative, Ms. Cheryl Grandy,
    the Rejection Notice. Ms. Grandy noticed the error concerning the April 17, 2018
    Performance Report, in which Plaintiffs rating has been reduced from superior to
    satisfactory. Ms. Miller promised to correct it. Later, after Plaintiff was removed from the
    office, Ms. Miller sent a corrected version of the Rejection Notice via email. which is still not
    corrected in entirety, as the mention of 2nd month evaluation per evaluation dated April 17,
    2018 is absolutely false. There was never a 2 nd month evaluation report issued to me. and the
    one dated, signed, and given on April 17, 2018 is the 5 th month evaluation repo11. In essence,
    Revenue Department's HR presented rejection notice with falsehood regarding my
    performance rating per evaluation dated April 17, 2018 to the Revenue Department' s
    Commissioner and the Central HR Director, and both signed it. And when Miller sent the
    purportedly corrected version via email, the signatures were forensically and exactly the
    same. Meaning, Miller was not truthful in exercising due process by at least presenting what
    she corrected to the executive signatories. Miller did show absolute nonchalant attitude for
    such defamation against myself and my career, and such that further buttress on
    unimaginable echelon discrimination and retaliation with impunity. Ms. Miller was the same
    HR representative that lodged complaint to regarding workplace hostility that was
    perpetrated by Ms. Gaines, and she did not even give any feedback whatsoever, until I
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   complained about such nonchalant attitude.

29. Ms. Miller thus served the Rejection Notice onto Plaintiff in a manner that violates CSR,
    which requires that the Rejection Notice be served personally to an employee, or that such
    notice be sent via registered mail to such employee.

30. Consequently, Plaintiff demoted to the position of an Accountant without any justifiable
    cause, other than the apparent discriminatory and retaliatory ac ts.

31. In December 2018 Plaintiff again took the Civil Service test for promotion to Accounting
    Supervisor and ranked #1 on the list. However, Plaintiff was never given the
    opportunity to interview for a position, the defendant claimed via an email to the
    plaintiff that the decision to deny him was made because he did not successfully
    complete the prior probationary period during his tenure as an Accounting
    Supervisor/Refund Unit Manager (i.e. 12/18/27 thru 6/6/18), and also asked the
    plaintiff to defend himself on the decision within few days, and the plaintiff responded
    as requested with the facts and figures, which the department still ignored and denied
    the plaintiff the opportunity to interview for the position that is actually open in his
    own unit, same unit he has acquired experience for at least 5 years, including making at
    least $2Million USD in accounts receivable for the City of Philadelphia. The Department
    of Revenue also attached another copy of his April 17, 2018 Performance Report to the
    email. However, this copy of the April 17, 2018 Performance Report had been
    manipulated to read "2 nd Month", instead of the "5 th month" in the original evaluation
    report. This is a clear retaliation for earlier exercising of my rights by reporting the
    discriminatory and retaliatory rejection on probation on June 6, 2018, especially to the
    EEOC.

32. As a result of emotional distress and hypertension caused by the defendant' s discriminatory
    and retaliatory treatments, Plaintiff resigned from the City of Philadelphia, withdrew my
    vested lifetime pension contributions, and moved out of Philadelphia.



                                     CLAIMS FOR RELIEF

                                             COUNTI

 (Race, Color, National Origin, and Gender Discrimination in Violation of Title VII of the
             Civil Rights Act of 1964, as Amended, 42 U.S.C. § 2000e et seq.)

33. Plaintiff incorporates by reference each allegation contained in the preceding paragraphs as if
    the same were set forth more fully at length herein .

34. Based on the foregoing, Plaintiff avers that Defendant violated Title VII ' s prohibition against
    discrimin ation based on race, color, national origin and gender by subjecting him to
    discrimination and by rejecting him during his probationary status.
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35 . As a result of Defendants' unlawful discrimination, Plaintiff has suffered damages as set forth
     herein.

                                            COUNT II

(Race, Color, National Origin, and Gender Discrimination in Violation of the Pennsylvania
                                  Human Relations Act,
                                   43 P.S. § 951 et seq.)

36. Plaintiff incorporates by reference each allegation contained in the preceding paragraphs as if
    the same were set forth more fully at length herein .

37. Based on the foregoing, Plaintiff avers that Defendant violated PHRA ' s prohibition against
    discrimination based on race, color, national origin and gender by subjecting him to
    discrimination and by rejecting him during his probationary status.

38. As a result of Defendants' unlawful gender discrimination, Plaintiff has suffered damages as
    set forth herein.


                                          COUNT III
                      (Race Discrimination in Violation of 42 U.S.C. § 1981)

39. Plaintiff incorporates by reference each allegation contained in the preceding paragraphs as if
    the same were set forth more fully at length herein .

40. Defendant's discrimination against Plaintiff is in violation of the rights of Plaintiff and the
    class afforded him by the Civil Rights Act 1866, 42 U.S.C. §1981, as amended by the Civil
    Rights Act of 1991 .

41. By the conduct described above, Defendant intentionally deprived Plaintiff of the same rights
    as are enjoyed by white citizens to the creation, performance, enjoyment, and all benefits and
    privileges, of their contractual employment relationship with Defendant, in violation of 42
    U.S.C. § 1981.

42. As a result of defendant Defendant's discrimination in violation of Section 1981 , Plaintiff has
    been denied employment opportunities providing substantial compensation and benefits,
    thereby entitling him to injunctive and equitable monetary relief; and has suffered ang uish,
    humiliation, distress, inconvenience and loss of enjoyment of life because of Defendant's
    actions, thereby entitl ing them to compensatory damages.

43. In its discriminatory actions as alleged above. Defendant has acted with malice or reckless
    indifference to the rights of the Plaintiff thereby entitling him to an award of punitive
    damages.
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                                          Prayer for Relief

       WHEREFORE, Plaintiff requests that the Court grant him the following relief against

Defendant:

(a) Compensatory damages;

(b) Punitive damages (where applicable) ;

(c) Liquidated damages (where applicable) ;

(d) Emotional pain and suffering ;

(e) Reasonable attorneys ' fees;

(f) Recoverable costs;

(g) Pre and post judgment interest;

(h) An allowance to compensate for negative tax consequences ;

(i) A permanent injunction enjoining Defendant, its directors, officers, employees, agents ,
    successors, heirs and assigns, and all persons in active concert or participation with it, from
    engaging in, ratifying, or refusing to correct, employment practices which discriminate in
    violation of the Title VII and the PHRA .

(j) Order Defendant to institute and implement, and for its employees, to attend and/or otherwise
    participate in, training programs, policies, practices and programs which provide equal
    employment opportunities;

(k) Order Defendant to remove and expunge, or to cause to be removed and expunged, all
    negative, discriminatory, and/or defamatory memoranda and documentation from Plaintiff's
    record of employment, including, but not limited to, the pre-textual reasons cited for its
    adverse actions, disciplines, and termination; and

(1) Awarding extraordinary, equitable and/or injunctive relief as pennitted by law, equity and the
   statutory provisions sued hereunder.



                                      JURY TRIAL DEMAND

Demand is hereby made for a trial by jury as to all issues.
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                                            Respectfully submitted,




                                            Samuel Araoye
                                            Pro Se Plaintiff


Dated:     r:~ /0,                      ;la '.l_C)
                                              VERIFICATION


         I, Samuel Araoye, hereby verify that I am the Pro Se Plaintiff in the within Amended Complaint

and that the statements made in the foregoing Amended Complaint are true and correct to the best of my

knowledge, information, and belief.

         I understand that false statements are made to the penalties of 18 Pa. C.S.A. §4904. relating to

unsworn falsification to authorities.




                                 ~hr
                                  Pro Se Plaintiff

Date:      ~ tO,, ?-0)----0
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SAMUEL 0. ARAOYE
                                                          CIVIL ACTION
                      Plaintiff,                          No.: 2:19-cv-0719

               V.


NOREEN SKIRKE, et al.

                      Defendants.




                                                  ORDER

       AND NOW, this _ _ _ _ day of _ _ _ _ _ _ _ _ _ _ , 2020 upon consideration

of Plaintiffs Motion for Leave to File an Amended Complaint, and all responses thereto, it is

ORDERED that the Motion is GRANTED. Plaintiffs Amended Complaint is included as part of

the record and will be considered by the Court.



                                             BY THE COURT:




                                                                                          ' J.
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